Case 22-14539-JKS      Doc 4      Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                                  Document     Page 1 of 49




SILLS CUMMIS & GROSS P.C.
S. Jason Teele, Esq. (steele@sillscummis.com)
Daniel J. Harris, Esq. (dharris@sillscummis.com)
Gregory A. Kopacz, Esq. (gkopacz@sillscummis.com)
One Riverfront Plaza
Newark, New Jersey 07102
(973) 643-7000 (Telephone)
(973) 643-6500 (Facsimile)

Proposed Counsel to the Debtors
and Debtors-in-Possession

                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW JERSEY

In re:                                            Chapter 11

NATIONAL REALTY INVESTMENT                        Case No. 22-14539 (JKS)
ADVISORS, LLC,

                     Debtor.

In re:                                            Chapter 11

142 NE 7TH CAPITAL, LLC                           Case No. 22-14542 (JKS)

                     Debtor.

In re:                                            Chapter 11

143 ADAGIO INVESTMENTS LLC,                       Case No. 22-14543 (JKS)

                     Debtor.

In re:                                            Chapter 11

184 LINCOLN PLACE LP,                             Case No. 22-14545 (JKS)

                     Debtor.

In re:                                            Chapter 11

1ST AVENUE CAPITAL 301, LLC                       Case No. 22-14546 (JKS)

                     Debtor.


                                            -1-
8828036
Case 22-14539-JKS    Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document     Page 2 of 49



In re:                                        Chapter 11

2031 LOMBARD PARTNERS LLC,                    Case No. 22-14548 (JKS)

                    Debtor.

In re:                                        Chapter 11

2044 WEST FIRST CAPITAL LLC,                  Case No. 22-14550 (JKS)

                    Debtor.

In re:                                        Chapter 11

3RD STREET CAPITAL 200-210 LLC,               Case No. 22-14551 (JKS)

                    Debtor.

In re:                                        Chapter 11

3RD STREET CAPITAL 203-215 LLC,               Case No. 22-14553 (JKS)

                    Debtor.

In re:                                        Chapter 11

51ST STREET CAPITAL 508 LLC,                  Case No. 22-14555 (JKS)

                    Debtor.

In re:                                        Chapter 11

52ND STREET CAPITAL 511-513 LLC,              Case No. 22-14556 (JKS)

                    Debtor.

In re:                                        Chapter 11

7TH STREET CAPITAL 285 LLC,                   Case No. 22-14558 (JKS)

                    Debtor.




                                        -2-
8828036
Case 22-14539-JKS    Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document     Page 3 of 49



In re:                                        Chapter 11

ADAM ST CAPITAL 6903 LLC,                     Case No. 22-14560 (JKS)

                    Debtor.

In re:                                        Chapter 11

ADAM ST CAPITAL 6903 MANAGER LLC, Case No. 22-14561 (JKS)

                    Debtor.

In re:                                        Chapter 11

ADAM ST CAPITAL 6903 MEMBER LLC,              Case No. 22-14563 (JKS)

                    Debtor.

In re:                                        Chapter 11

BALTIC STREET CAPITAL 640 LLC,                Case No. 22-14565 (JKS)

                    Debtor.

In re:                                        Chapter 11

BERGEN ST CAPITAL 1070 LLC,                   Case No. 22-14566 (JKS)

                    Debtor.

In re:                                        Chapter 11

BERGENLINE CAPITAL 4901 LLC,                  Case No. 22-14568 (JKS)

                    Debtor.

In re:                                        Chapter 11

BERKELEY PLACE CAPITAL 227 LLC,               Case No. 22-14570 (JKS)

                    Debtor.




                                        -3-
8828036
Case 22-14539-JKS    Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document     Page 4 of 49



In re:                                        Chapter 11

BLACK HORSE ALLEY CAPITAL,                    Case No. 22-14571 (JKS)

                    Debtor.

In re:                                        Chapter 11

BOND WAY CAPITAL 915 LLC,                     Case No. 22-14572 (JKS)

                    Debtor.

In re:                                        Chapter 11

BRINY CAPITAL 305 LLC,                        Case No. 22-14574 (JKS)

                    Debtor.

In re:                                        Chapter 11

CARROLL STREET CAPITAL 160 LLC,               Case No. 22-14576 (JKS)

                    Debtor.

In re:                                        Chapter 11

CHERRY STREET CAPITAL 113-27 LLC,             Case No. 22-14577 (JKS)

                    Debtor.

In re:                                        Chapter 11

CULVER URBAN RENEWAL                          Case No. 22-14579 (JKS)
REDEVELOPMENT I, LLC

                    Debtor.

In re:                                        Chapter 11

CULVER URBAN RENEWAL                          Case No. 22-14581 (JKS)
REDEVELOPMENT II, LLC

                    Debtor.




                                        -4-
8828036
Case 22-14539-JKS    Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document     Page 5 of 49



In re:                                        Chapter 11

DEGRAW ST CAPITAL 377 LLC,                    Case No. 22-14541 (JKS)

                    Debtor.

In re:                                        Chapter 11

DELRAY CAPITAL 1 LLC,                         Case No. 22-14544 (JKS)

                    Debtor.

In re:                                        Chapter 11

DELRAY CAPITAL 1B LLC,                        Case No. 22-14547 (JKS)

                    Debtor.

In re:                                        Chapter 11

DENERY LANE CAPITAL 837 LLC,                  Case No. 22-14549 (JKS)

                    Debtor.

In re:                                        Chapter 11

DENERY LANE CAPITAL 843 LLC,                  Case No. 22-14552 (JKS)

                    Debtor.

In re:                                        Chapter 11

DENERY LANE CAPITAL 843 MANAGER               Case No. 22-14554 (JKS)
LLC,

                    Debtor.

In re:                                        Chapter 11

ELDEN DRIVE CAPITAL 1 LLC,                    Case No. 22-14557 (JKS)

                    Debtor.




                                        -5-
8828036
Case 22-14539-JKS    Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document     Page 6 of 49



In re:                                        Chapter 11

FEDERAL HIGHWAY CAPITAL 318 B                 Case No. 22-14559 (JKS)
LLC,

                    Debtor.

In re:                                        Chapter 11

FEDERAL HIGHWAY CAPITAL 318 LLC,              Case No. 22-14562 (JKS)

                    Debtor.

In re:                                        Chapter 11

FTM PARTNERS PORTFOLIO HOTEL                  Case No. 22-14564 (JKS)
RETAIL LLC,

                    Debtor.

In re:                                        Chapter 11

FTM PARTNERS PORTFOLIO MARINA                 Case No. 22-14567 (JKS)
LLC,

                    Debtor.

In re:                                        Chapter 11

FTM PARTNERS PORTFOLIO                        Case No. 22-14569 (JKS)
RESTAURANT LLC,

                    Debtor.

In re:                                        Chapter 11

GULF STREAM VIEWS II LLC,                     Case No. 22-14573 (JKS)

                    Debtor.

In re:                                        Chapter 11

GULF STREAM VIEWS LLC,                        Case No. 22-14575 (JKS)

                    Debtor.


                                        -6-
8828036
Case 22-14539-JKS    Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document     Page 7 of 49



In re:                                        Chapter 11

GUTTENBERG CAPITAL 416-22 69TH ST             Case No. 22-14578 (JKS)
LLC,

                    Debtor.

In re:                                        Chapter 11

GUTTENBERG CAPITAL 6269 LLC,                  Case No. 22-14580 (JKS)

                    Debtor.

In re:                                        Chapter 11

HANOVER ROAD CAPITAL 2 LLC,                   Case No. 22-14582 (JKS)

                    Debtor.

In re:                                        Chapter 11

HENRY STREET CAPITAL 506, LLC                 Case No. 22-14583 (JKS)

                    Debtor.

In re:                                        Chapter 11

KENWOOD RD CAPITAL 8 LLC,                     Case No. 22-14584 (JKS)

                    Debtor.

In re:                                        Chapter 11

LANDNET LLC,                                  Case No. 22-14586 (JKS)

                    Debtor.

In re:                                        Chapter 11

LENDER PRIME 1 LLC,                           Case No. 22-14585 (JKS)

                    Debtor.




                                        -7-
8828036
Case 22-14539-JKS    Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document     Page 8 of 49



In re:                                        Chapter 11

LUQUER STREET CAPITAL 140 LLC,                Case No. 22-14587 (JKS)

                    Debtor.

In re:                                        Chapter 11

MADISON STREET CAPITAL 931 LLC,               Case No. 22-14588 (JKS)

                    Debtor.

In re:                                        Chapter 11

MAIN ST. CAPITAL 360 MANAGER LLC,             Case No. 22-14592 (JKS)

                    Debtor.

In re:                                        Chapter 11

MAIN ST. CAPITAL 360 LLC,                     Case No. 22-14590 (JKS)

                    Debtor.

In re:                                        Chapter 11

MAIN ST. CAPITAL 360 MEMBER LLC,              Case No. 22-14594 (JKS)

                    Debtor.

In re:                                        Chapter 11

MANHATTAN AVENUE CAPITAL 1300                 Case No. 22-14596 (JKS)
LLC,

                    Debtor.

In re:                                        Chapter 11

N. OCEAN CAPITAL 2929 B LLC,                  Case No. 22-14597 (JKS)

                    Debtor.




                                        -8-
8828036
Case 22-14539-JKS    Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document     Page 9 of 49



In re:                                        Chapter 11

N. OCEAN CAPITAL 3565 B LLC,                  Case No. 22-14601 (JKS)

                    Debtor.

In re:                                        Chapter 11

N. OCEAN CAPITAL 707 B LLC,                   Case No. 22-14603 (JKS)

                    Debtor.

In re:                                        Chapter 11

N. OCEAN CAPITAL 344 LLC,                     Case No. 22-14599 (JKS)

                    Debtor.

In re:                                        Chapter 11

N. OCEAN CAPITAL 707 LLC,                     Case No. 22-14605 (JKS)

                    Debtor.

In re:                                        Chapter 11

NEWARK STREET CAPITAL 511-521 LLC,            Case No. 22-14607 (JKS)

                    Debtor.

In re:                                        Chapter 11

NJ MANAGER 1300, LLC,                         Case No. 22-14609 (JKS)

                    Debtor.

In re:                                        Chapter 11

NORTH BERGEN CAPITAL 8709 LLC,                Case No. 22-14610 (JKS)

                    Debtor.




                                        -9-
8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 10 of 49



In re:                                      Chapter 11

NRIA 140 LUQUER MANAGER LLC,                Case No. 22-14612 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 1ST AVENUE 301 MANAGER LLC,            Case No. 22-14614 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 2031 LOMBARD MANAGER,                  Case No. 22-14616 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 2044 WEST FIRST CAPITAL                Case No. 22-14618 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 2044 WEST FIRST CAPITAL                Case No. 22-14589 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 227 BERKELEY MANAGER LLC,              Case No. 22-14591 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 279 SACKETT MANAGER LLC,               Case No. 22-14593 (JKS)

                    Debtor.




                                         -10-
8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 11 of 49



In re:                                      Chapter 11

NRIA 3RD STREET CAPITAL 200-210             Case No. 22-14595 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 3RD STREET CAPITAL 200-210             Case No. 22-14598 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 3RD STREET CAPITAL 203-215             Case No. 22-14600 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 3RD STREET CAPITAL 203-215             Case No. 22-14602 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 423 THIRD MANAGER LLC,                 Case No. 22-14604 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 434 UNION MANAGER LLC,                 Case No. 22-14606 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 494 SEVENTH MANAGER LLC,               Case No. 22-14608 (JKS)

                    Debtor.


                                         -11-
8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 12 of 49



In re:                                      Chapter 11

NRIA 51ST STREET 508 MEMBER LLC,            Case No. 22-14611 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 51ST STREET MANAGER 508 LLC,           Case No. 22-14613 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 52ND STREET 511-513 MEMBER             Case No. 22-14615 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 7TH STREET CAPITAL MANAGER             Case No. 22-14617 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA BERGENLINE 4901 MANAGER LLC, Case No. 22-14619 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA BOND WAY CAPITAL MANAGER               Case No. 22-14620 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA BRINY CAPITAL 305 MANAGER,             Case No. 22-14623 (JKS)
LLC,

                    Debtor.


                                         -12-
8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 13 of 49



In re:                                      Chapter 11

NRIA BRINY CAPITAL 305 MEMBER,              Case No. 22-14625 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA BROOKLYN I, LLC                        Case No. 22-14627 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA BROOKLYN II, LLC                       Case No. 22-14629 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA CHERRY STREET 113-27                   Case No. 22-14621 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA DELRAY 1 MANAGER LLC,                  Case No. 22-14622 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA DENERY LANE CAPITAL 837                Case No. 22-14624 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA EB5 1300 MANHATTAN FUND LLC,           Case No. 22-14626 (JKS)

                    Debtor.




                                         -13-
8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 14 of 49



In re:                                      Chapter 11

NRIA EB5 4901 BERGENLINE FUND LLC,          Case No. 22-14628 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA ELDEN DRIVE 1 MANAGER LLC,             Case No. 22-14630 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA EXCHANGE, LLC                          Case No. 22-14631 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA FEDERAL HIGHWAY 318                    Case No. 22-14632 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA FL MANAGER LLC,                        Case No. 22-14633 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA GULF STREAM VIEWS MANAGER              Case No. 22-14635 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA GUTTENBERG CAPITAL 416-22              Case No. 22-14637 (JKS)
69TH ST MANAGER LLC,

                    Debtor.




                                         -14-
8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 15 of 49



In re:                                      Chapter 11

NRIA GUTTENBERG CAPITAL 416-22              Case No. 22-14639 (JKS)
69TH ST MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA GUTTENBERG CAPITAL 6269 JV             Case No. 22-14641 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA GUTTENBERG CAPITAL 6269                Case No. 22-14643 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA HANOVER ROAD MANAGER LLC,              Case No. 22-14645 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA HENRY STREET 506 MANAGER               Case No. 22-14646 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA II,                                    Case No. 22-14648 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA KENWOOD RD 8 MANAGER LLC,              Case No. 22-14650 (JKS)

                    Debtor.


                                         -15-
8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 16 of 49



In re:                                      Chapter 11

NRIA MADISON STREET CAPITAL 931             Case No. 22-14651 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA MANHATTAN AVENUE 1300                  Case No. 22-14653 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA N. OCEAN 2929 MANAGER LLC,             Case No. 22-14655 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA N. OCEAN 344 MANAGER LLC,              Case No. 22-14634 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA N. OCEAN 3565 MANAGER LLC,             Case No. 22-14636 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA N. OCEAN 707 MANAGER LLC,              Case No. 22-14638 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA NE 7TH MANAGER LLC,                    Case No. 22-14640 (JKS)

                    Debtor.




                                         -16-
8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 17 of 49



In re:                                      Chapter 11

NRIA NEWARK STREET CAPITAL 511              Case No. 22-14642 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA NEWARK STREET CAPITAL 511-             Case No. 22-14644 (JKS)
521 MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA NJ MANAGER 511 LLC,                    Case No. 22-14647 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA NJ MANAGER 8709 LLC,                   Case No. 22-14649 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA NJ MANAGER 931 LLC,                    Case No. 22-14652 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA NORTH BERGEN 8709 MEMBER               Case No. 22-14654 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA OLD RIVER RD CAPITAL 460-510           Case No. 22-14656 (JKS)
MANAGER LLC,

                    Debtor.


                                         -17-
8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 18 of 49



In re:                                      Chapter 11

NRIA OLD RIVER RD CAPITAL 460-510           Case No. 22-14657 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA OLD WOODS ROAD MANAGER                 Case No. 22-14658 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA PARTNERS PORTFOLIO FUND I,             Case No. 22-14540 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA SOUTH CHRISTOPHER COLUMBUS Case No. 22-14659 (JKS)
1499 MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA STRUCTURED CREDIT                      Case No. 22-14660 (JKS)
STRATEGIES LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA WRIGHT BY THE SEA 1901                 Case No. 22-14661 (JKS)
MEMBER LLC,

                    Debtor.




                                         -18-
8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 19 of 49



In re:                                      Chapter 11

OLD RIVER ROAD CAPITAL 460-510 LLC, Case No. 22-14662 (JKS)

                    Debtor.

In re:                                      Chapter 11

OLD WOODS ROAD CAPITAL 36 LLC,              Case No. 22-14663 (JKS)

                    Debtor.

In re:                                      Chapter 11

SACKETT STREET CAPITAL 279 LLC,             Case No. 22-14664 (JKS)

                    Debtor.

In re:                                      Chapter 11

SEVENTH STREET CAPITAL 494 LLC,             Case No. 22-14665 (JKS)

                    Debtor.

In re:                                      Chapter 11

SOUTH CHRISTOPHER COLUMBUS                  Case No. 22-14667 (JKS)
CAPITAL 1499 LLC,

                    Debtor.

In re:                                      Chapter 11

SUMMIT STREET CAPITAL 143 LLC,              Case No. 22-14668 (JKS)

                    Debtor.

In re:                                      Chapter 11

THIRD STREET CAPITAL 423 LLC,               Case No. 22-14669 (JKS)

                    Debtor.




                                         -19-
8828036
Case 22-14539-JKS          Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34          Desc Main
                                   Document      Page 20 of 49



In re:                                             Chapter 11

UNION STREET CAPITAL 434 LLC,                      Case No. 22-14670 (JKS)

                         Debtor.

In re:                                             Chapter 11

WEB MARKETING ASSOCIATES LLC,                      Case No. 22-14671 (JKS)

                         Debtor.

In re:                                             Chapter 11

WRIGHT BY THE SEA 1901, LLC                        Case No. 22-14672 (JKS)

                         Debtor.

               DEBTORS’ MOTION FOR ENTRY OF AN ORDER (A) DIRECTING
                    JOINT ADMINISTRATION OF CHAPTER 11 CASES
                         AND (B) GRANTING RELATED RELIEF
          The above-captioned debtors and debtors in possession (the “Debtors”) seek entry of an

order, substantially in the form attached as Exhibit A, (a) directing procedural consolidation and

joint administration of these chapter 11 cases, and (b) granting related relief. In support of this

motion (the “Motion”), the Debtors submit the Declaration in Support of Chapter 11 Petitions

and First Day Pleadings (the “First Day Declaration”), filed contemporaneously herewith, and

respectfully state as follows:
                                        BACKGROUND

          1.      On June 7, 2022 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11 Cases”).

          2.      The Debtors are currently operating their businesses and managing their

properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code. No request has been made for the appointment of a trustee or examiner. No official
committee of unsecured creditors has been appointed.




                                               -20-
8828036
Case 22-14539-JKS            Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34           Desc Main
                                     Document      Page 21 of 49



           3.      Additional background surrounding the commencement of these Chapter 11

Cases is set forth in the First Day Declaration.

                                       RELIEF REQUESTED

           4.      By this Motion, the Debtors seek entry of an order (a) directing procedural

consolidation and joint administration of these Chapter 11 Cases, and (b) granting related relief.

Specifically, the Debtors request that the United States Bankruptcy Court for the District of New

Jersey (the “Court”) maintain one file and one docket for all of the jointly administered cases

under the case of National Realty Investment Advisors, LLC, and that the cases be administered

under a consolidated caption, as follows:

                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


          In re:                                             Chapter 11

          NATIONAL REALTY INVESTMENT                         Case No. 22-14539 (JKS)
          ADVISORS, LLC, et al.1
                                                             (Jointly Administered)
                                Debtors.
      1
         A complete list of the Debtors in these chapter 11 cases may be obtained on the
      website     of     the     Debtors’     claims     and     noticing    agent    at
      https://omniagentsolutions.com/NRIA. The location of the Debtors’ service address
      is: 1 Harmon Plaza, Floor 9, Secaucus, New Jersey 07094.

           5.      The Debtors further request that the Court order that the foregoing caption

satisfies the requirements set forth in section 342(c)(1) of title 11 of the United States Code (the

“Bankruptcy Code”). The Debtors also request that a docket entry, substantially similar to the

following, be entered on the dockets of all Debtors, other than Debtor National Realty

Investment Advisors, LLC:

                   An order has been entered in this case consolidating this case with
                   the case of National Realty Investment Advisors, LLC (Case No.
                   22-14539 (JKS)) for procedural purposes only and providing for its
                   joint administration in accordance with the terms thereof. The


                                                   -21-
8828036
Case 22-14539-JKS         Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34            Desc Main
                                  Document      Page 22 of 49



                docket in Case No. 22-14539 (JKS) should be consulted for all
                matters affecting this case.

          6.    The Debtors will file consolidated monthly operating reports, but will separately

set forth disbursements for each Debtor as a schedule to the extent required by the United States

Trustee Operating Guidelines, with said reports to be filed in the lead case, rather than in each of

the Debtor’s individual cases.

          7.    Finally for purposes of efficiency and in order to streamline notice of all matters

that may affect creditors of any of the Debtors, the Debtors request authority to file a single

consolidated list of the 30 largest creditors in each of the Chapter 11 Cases.

                                  JURISDICTION AND VENUE

          8.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334

and the Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United States

District Court for the District of New Jersey, entered on July 23, 1984, and amended on

September 18, 2012 (Simandle, C.J.).

          9.    Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          10.   The bases for the relief requested herein are section 105(a) of the Bankruptcy

Code, rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                      BASIS FOR RELIEF

          11.   Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . a debtor and an affiliate, the court may

order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The Debtors are “affiliates”

as that term is defined in section 101(2) of the Bankruptcy Code. As described in the First Day

Declaration, the Debtors are a vertically-integrated development firm with dedicated fund

management and luxury home sales and apartment rental divisions.                 Accordingly, the

Bankruptcy Code and Bankruptcy Rules authorize the Court to grant the relief requested herein.
          12.   Section 105(a) of the Bankruptcy Code provides the Court with the power to grant

the relief requested herein by permitting the Court to “issue any order, process, or judgment that

                                                -22-
8828036
Case 22-14539-JKS         Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34           Desc Main
                                  Document      Page 23 of 49



is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C.

§105(a).

          11.   Joint administration is generally non-controversial, and courts in this

jurisdiction routinely order joint administration in cases with multiple, related debtors. See,

e.g., In re Duro Dyne Nat’l Corp., Case No. 18-27963 (MBK) (Bankr. D.N.J. Sept. 7, 2018); In

re RWRF, Inc., Case No. 17-32958 (JKS) (Bankr. D.N.J. Nov. 15, 2017); In re Mountain Creek

Resort, Inc., Case No. 17-19899; (SLM) (Bankr. D.N.J. May 17, 2017); In re Cinram Group,

Inc., Case No. 17-15258 (VFP) (Bankr. D.N.J. Mar. 24, 2017).

          12.   Given the integrated nature of the Debtors’ operations, joint administration of

these Chapter 11 Cases will provide significant administrative convenience without harming the

substantive rights of any party in interest. Many of the motions, hearings, and orders in these

Chapter 11 Cases will affect all Debtor entities. The entry of an order directing joint

administration of these Chapter 11 Cases will reduce fees and costs by avoiding duplicative

filings and objections in each Debtor’s case. Joint administration also will allow the U.S.

Trustee and all parties in interest to monitor these Chapter 11 Cases with greater ease and

efficiency by allowing such parties to focus on one case docket.

          13.   Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies because this Motion seeks only administrative, not substantive, consolidation

of the Debtors’ estates. Parties in interest will not be harmed by the relief requested; instead,
parties in interest will benefit from the cost reductions associated with the joint administration

of these Chapter 11 Cases. Accordingly, the Debtors submit that the joint administration of

these Chapter 11 Cases is in the best interests of their estates, their creditors, and all other

parties in interest.

                          WAIVER OF MEMORANDUM OF LAW

          14.   Because the legal and factual basis upon which the Debtors rely are

incorporated herein and the Motion does not raise any novel issues of law, the Debtors



                                              -23-
8828036
Case 22-14539-JKS         Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34            Desc Main
                                  Document      Page 24 of 49



respectfully request that the Court waive the requirement to file a separate memorandum of

law pursuant to D.N.J. LBR 9013-1(a)(3).

                                     NO PRIOR REQUEST

          15.   No previous motion for the relief sought herein has been made to this or to any

other court.

                                             NOTICE

          16.   Notice of this Motion has been given to (i) the Office of the United States Trustee

for the District of New Jersey, One Newark Center, Suite 2100, Newark, NJ 07102; (ii) the

Debtors’ thirty largest unsecured creditors on a consolidated basis and the Debtors’ thirty largest

investors on a consolidated basis; (iii) S3 RE Bergenline Funding, LLC, S3 RE 1300 Manhattan

Funding LLC and LendingOne LLC; (iv) the U.S. Attorney General; (v) the Internal Revenue

Service; (vi) the Securities and Exchange Commission; (vii) the New Jersey Attorney General;

(viii) the U.S. Attorney for the District of New Jersey; (ix) the New Jersey Division of Taxation;

(x) the New Jersey Bureau of Securities; (xi) the New York Attorney General; (xii) the New

York Department of Taxation and Finance; (xiii) the Florida Attorney General; (xiv) the Florida

Department of Revenue; (xv) the Illinois Attorney General; (xvi) the Illinois Department of

Revenue; (xvii) the Illinois Securities Department; (xviii) the Alabama Attorney General; (xix)

the Alabama Department of Revenue; (xx) the Alabama Securities Commission; and (xxi) those

parties who have filed a notice of appearance and request for service of pleadings in these
Chapter 11 Cases pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested

herein, the Debtors submit that no other or further notice is required.

                      [REMAINDER OF PAGE INTENTIONALLY BLANK]




                                                -24-
8828036
Case 22-14539-JKS          Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34            Desc Main
                                   Document      Page 25 of 49



                                         CONCLUSION

          WHEREFORE, the Debtors respectfully request entry of an order, substantially in the

form attached as Exhibit A, granting the relief requested herein and such other relief as is just

and proper.
                                              Respectfully submitted,


Dated: June 8, 2022                           SILLS CUMMIS & GROSS P.C.

                                              /s/ S. Jason Teele
                                              S. Jason Teele, Esq.
                                              Daniel J. Harris, Esq.
                                              Gregory A. Kopacz Esq.
                                              One Riverfront Plaza
                                              Newark, New Jersey 07102
                                              (973) 643-7000 (Telephone)
                                              (937) 643-6500 (Facsimile)
                                              steele@sillscummis.com
                                              dharris@sillscummis.com
                                              gkopacz@sillscummis.com

                                              Proposed Counsel to the Debtors and Debtors-in-
                                              Possession




                                                -25-
8828036
Case 22-14539-JKS   Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                            Document      Page 26 of 49



                                   EXHIBIT A

                                 Proposed Order




8828036
Case 22-14539-JKS      Doc 4      Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                                 Document      Page 27 of 49



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1

SILLS CUMMIS & GROSS P.C.
S. Jason Teele, Esq. (steele@sillscummis.com)
Daniel J. Harris, Esq. (dharris@sillscummis.com)
Gregory Kopacz, Esq. (gkopacz@sillscummis.com)
One Riverfront Plaza
Newark, New Jersey 07102
(973) 643-7000 (Telephone)
(973) 643-6500 (Facsimile)

Proposed Counsel to the Debtor
and Debtor-in-Possession


                      UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NEW JERSEY

In re:                                         Chapter 11

NATIONAL REALTY INVESTMENT                     Case No. 22-14539 (JKS)
ADVISORS, LLC,

                     Debtor.

In re:                                         Chapter 11

142 NE 7TH CAPITAL, LLC                        Case No. 22-14542 (JKS)

                     Debtor.

In re:                                         Chapter 11

143 ADAGIO INVESTMENTS LLC,                    Case No. 22-14543 (JKS)

                     Debtor.

In re:                                         Chapter 11

184 LINCOLN PLACE LP,                          Case No. 22-14545 (JKS)

                     Debtor.




8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 28 of 49



In re:                                      Chapter 11

1ST AVENUE CAPITAL 301, LLC                 Case No. 22-14546 (JKS)

                    Debtor.

In re:                                      Chapter 11

2031 LOMBARD PARTNERS LLC,                  Case No. 22-14548 (JKS)

                    Debtor.

In re:                                      Chapter 11

2044 WEST FIRST CAPITAL LLC,                Case No. 22-14550 (JKS)

                    Debtor.

In re:                                      Chapter 11

3RD STREET CAPITAL 200-210 LLC,             Case No. 22-14551 (JKS)

                    Debtor.

In re:                                      Chapter 11

3RD STREET CAPITAL 203-215 LLC,             Case No. 22-14553 (JKS)

                    Debtor.

In re:                                      Chapter 11

51ST STREET CAPITAL 508 LLC,                Case No. 22-14555 (JKS)

                    Debtor.

In re:                                      Chapter 11

52ND STREET CAPITAL 511-513 LLC,            Case No. 22-14556 (JKS)

                    Debtor.

In re:                                      Chapter 11

7TH STREET CAPITAL 285 LLC,                 Case No. 22-14558 (JKS)



8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 29 of 49



                    Debtor.

In re:                                      Chapter 11

ADAM ST CAPITAL 6903 LLC,                   Case No. 22-14560 (JKS)

                    Debtor.

In re:                                      Chapter 11

ADAM ST CAPITAL 6903 MANAGER LLC, Case No. 22-14561 (JKS)

                    Debtor.

In re:                                      Chapter 11

ADAM ST CAPITAL 6903 MEMBER LLC,            Case No. 22-14563 (JKS)

                    Debtor.

In re:                                      Chapter 11

BALTIC STREET CAPITAL 640 LLC,              Case No. 22-14565 (JKS)

                    Debtor.

In re:                                      Chapter 11

BERGEN ST CAPITAL 1070 LLC,                 Case No. 22-14566 (JKS)

                    Debtor.

In re:                                      Chapter 11

BERGENLINE CAPITAL 4901 LLC,                Case No. 22-14568 (JKS)

                    Debtor.

In re:                                      Chapter 11

BERKELEY PLACE CAPITAL 227 LLC,             Case No. 22-14570 (JKS)

                    Debtor.




8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 30 of 49



In re:                                      Chapter 11

BLACK HORSE ALLEY CAPITAL,                  Case No. 22-14571 (JKS)

                    Debtor.

In re:                                      Chapter 11

BOND WAY CAPITAL 915 LLC,                   Case No. 22-14572 (JKS)

                    Debtor.

In re:                                      Chapter 11

BRINY CAPITAL 305 LLC,                      Case No. 22-14574 (JKS)

                    Debtor.

In re:                                      Chapter 11

CARROLL STREET CAPITAL 160 LLC,             Case No. 22-14576 (JKS)

                    Debtor.

In re:                                      Chapter 11

CHERRY STREET CAPITAL 113-27 LLC,           Case No. 22-14577 (JKS)

                    Debtor.

In re:                                      Chapter 11

CULVER URBAN RENEWAL                        Case No. 22-14579 (JKS)
REDEVELOPMENT I, LLC

                    Debtor.

In re:                                      Chapter 11

CULVER URBAN RENEWAL                        Case No. 22-14581 (JKS)
REDEVELOPMENT II, LLC

                    Debtor.




8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 31 of 49



In re:                                      Chapter 11

DEGRAW ST CAPITAL 377 LLC,                  Case No. 22-14541 (JKS)

                    Debtor.

In re:                                      Chapter 11

DELRAY CAPITAL 1 LLC,                       Case No. 22-14544 (JKS)

                    Debtor.

In re:                                      Chapter 11

DELRAY CAPITAL 1B LLC,                      Case No. 22-14547 (JKS)

                    Debtor.

In re:                                      Chapter 11

DENERY LANE CAPITAL 837 LLC,                Case No. 22-14549 (JKS)

                    Debtor.

In re:                                      Chapter 11

DENERY LANE CAPITAL 843 LLC,                Case No. 22-14552 (JKS)

                    Debtor.

In re:                                      Chapter 11

DENERY LANE CAPITAL 843 MANAGER             Case No. 22-14554 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

ELDEN DRIVE CAPITAL 1 LLC,                  Case No. 22-14557 (JKS)

                    Debtor.




8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 32 of 49



In re:                                      Chapter 11

FEDERAL HIGHWAY CAPITAL 318 B               Case No. 22-14559 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

FEDERAL HIGHWAY CAPITAL 318 LLC,            Case No. 22-14562 (JKS)

                    Debtor.

In re:                                      Chapter 11

FTM PARTNERS PORTFOLIO HOTEL                Case No. 22-14564 (JKS)
RETAIL LLC,

                    Debtor.

In re:                                      Chapter 11

FTM PARTNERS PORTFOLIO MARINA               Case No. 22-14567 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

FTM PARTNERS PORTFOLIO                      Case No. 22-14569 (JKS)
RESTAURANT LLC,

                    Debtor.

In re:                                      Chapter 11

GULF STREAM VIEWS II LLC,                   Case No. 22-14573 (JKS)

                    Debtor.

In re:                                      Chapter 11

GULF STREAM VIEWS LLC,                      Case No. 22-14575 (JKS)

                    Debtor.



8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 33 of 49



In re:                                      Chapter 11

GUTTENBERG CAPITAL 416-22 69TH ST           Case No. 22-14578 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

GUTTENBERG CAPITAL 6269 LLC,                Case No. 22-14580 (JKS)

                    Debtor.

In re:                                      Chapter 11

HANOVER ROAD CAPITAL 2 LLC,                 Case No. 22-14582 (JKS)

                    Debtor.

In re:                                      Chapter 11

HENRY STREET CAPITAL 506, LLC               Case No. 22-14583 (JKS)

                    Debtor.

In re:                                      Chapter 11

KENWOOD RD CAPITAL 8 LLC,                   Case No. 22-14584 (JKS)

                    Debtor.

In re:                                      Chapter 11

LANDNET LLC,                                Case No. 22-14586 (JKS)

                    Debtor.

In re:                                      Chapter 11

LENDER PRIME 1 LLC,                         Case No. 22-14585 (JKS)

                    Debtor.




8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 34 of 49



In re:                                      Chapter 11

LUQUER STREET CAPITAL 140 LLC,              Case No. 22-14587 (JKS)

                    Debtor.

In re:                                      Chapter 11

MADISON STREET CAPITAL 931 LLC,             Case No. 22-14588 (JKS)

                    Debtor.

In re:                                      Chapter 11

MAIN ST. CAPITAL 360 MANAGER LLC,           Case No. 22-14592 (JKS)

                    Debtor.

In re:                                      Chapter 11

MAIN ST. CAPITAL 360 LLC,                   Case No. 22-14590 (JKS)

                    Debtor.

In re:                                      Chapter 11

MAIN ST. CAPITAL 360 MEMBER LLC,            Case No. 22-14594 (JKS)

                    Debtor.

In re:                                      Chapter 11

MANHATTAN AVENUE CAPITAL 1300               Case No. 22-14596 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

N. OCEAN CAPITAL 2929 B LLC,                Case No. 22-14597 (JKS)

                    Debtor.




8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 35 of 49



In re:                                      Chapter 11

N. OCEAN CAPITAL 3565 B LLC,                Case No. 22-14601 (JKS)

                    Debtor.

In re:                                      Chapter 11

N. OCEAN CAPITAL 707 B LLC,                 Case No. 22-14603 (JKS)

                    Debtor.

In re:                                      Chapter 11

N. OCEAN CAPITAL 344 LLC,                   Case No. 22-14599 (JKS)

                    Debtor.

In re:                                      Chapter 11

N. OCEAN CAPITAL 707 LLC,                   Case No. 22-14605 (JKS)

                    Debtor.

In re:                                      Chapter 11

NEWARK STREET CAPITAL 511-521 LLC,          Case No. 22-14607 (JKS)

                    Debtor.

In re:                                      Chapter 11

NJ MANAGER 1300, LLC,                       Case No. 22-14609 (JKS)

                    Debtor.

In re:                                      Chapter 11

NORTH BERGEN CAPITAL 8709 LLC,              Case No. 22-14610 (JKS)

                    Debtor.




8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 36 of 49



In re:                                      Chapter 11

NRIA 140 LUQUER MANAGER LLC,                Case No. 22-14612 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 1ST AVENUE 301 MANAGER LLC,            Case No. 22-14614 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 2031 LOMBARD MANAGER,                  Case No. 22-14616 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 2044 WEST FIRST CAPITAL                Case No. 22-14618 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 2044 WEST FIRST CAPITAL                Case No. 22-14589 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 227 BERKELEY MANAGER LLC,              Case No. 22-14591 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 279 SACKETT MANAGER LLC,               Case No. 22-14593 (JKS)

                    Debtor.




8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 37 of 49



In re:                                      Chapter 11

NRIA 3RD STREET CAPITAL 200-210             Case No. 22-14595 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 3RD STREET CAPITAL 200-210             Case No. 22-14598 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 3RD STREET CAPITAL 203-215             Case No. 22-14600 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 3RD STREET CAPITAL 203-215             Case No. 22-14602 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 423 THIRD MANAGER LLC,                 Case No. 22-14604 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 434 UNION MANAGER LLC,                 Case No. 22-14606 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 494 SEVENTH MANAGER LLC,               Case No. 22-14608 (JKS)

                    Debtor.



8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 38 of 49



In re:                                      Chapter 11

NRIA 51ST STREET 508 MEMBER LLC,            Case No. 22-14611 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 51ST STREET MANAGER 508 LLC,           Case No. 22-14613 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA 52ND STREET 511-513 MEMBER             Case No. 22-14615 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA 7TH STREET CAPITAL MANAGER             Case No. 22-14617 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA BERGENLINE 4901 MANAGER LLC, Case No. 22-14619 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA BOND WAY CAPITAL MANAGER               Case No. 22-14620 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA BRINY CAPITAL 305 MANAGER,             Case No. 22-14623 (JKS)
LLC,

                    Debtor.



8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 39 of 49



In re:                                      Chapter 11

NRIA BRINY CAPITAL 305 MEMBER,              Case No. 22-14625 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA BROOKLYN I, LLC                        Case No. 22-14627 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA BROOKLYN II, LLC                       Case No. 22-14629 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA CHERRY STREET 113-27                   Case No. 22-14621 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA DELRAY 1 MANAGER LLC,                  Case No. 22-14622 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA DENERY LANE CAPITAL 837                Case No. 22-14624 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA EB5 1300 MANHATTAN FUND LLC,           Case No. 22-14626 (JKS)

                    Debtor.




8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 40 of 49



In re:                                      Chapter 11

NRIA EB5 4901 BERGENLINE FUND LLC,          Case No. 22-14628 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA ELDEN DRIVE 1 MANAGER LLC,             Case No. 22-14630 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA EXCHANGE, LLC                          Case No. 22-14631 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA FEDERAL HIGHWAY 318                    Case No. 22-14632 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA FL MANAGER LLC,                        Case No. 22-14633 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA GULF STREAM VIEWS MANAGER              Case No. 22-14635 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA GUTTENBERG CAPITAL 416-22              Case No. 22-14637 (JKS)
69TH ST MANAGER LLC,

                    Debtor.




8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 41 of 49



In re:                                      Chapter 11

NRIA GUTTENBERG CAPITAL 416-22              Case No. 22-14639 (JKS)
69TH ST MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA GUTTENBERG CAPITAL 6269 JV             Case No. 22-14641 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA GUTTENBERG CAPITAL 6269                Case No. 22-14643 (JKS)
MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA HANOVER ROAD MANAGER LLC,              Case No. 22-14645 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA HENRY STREET 506 MANAGER               Case No. 22-14646 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA II,                                    Case No. 22-14648 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA KENWOOD RD 8 MANAGER LLC,              Case No. 22-14650 (JKS)

                    Debtor.



8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 42 of 49



In re:                                      Chapter 11

NRIA MADISON STREET CAPITAL 931             Case No. 22-14651 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA MANHATTAN AVENUE 1300                  Case No. 22-14653 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA N. OCEAN 2929 MANAGER LLC,             Case No. 22-14655 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA N. OCEAN 344 MANAGER LLC,              Case No. 22-14634 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA N. OCEAN 3565 MANAGER LLC,             Case No. 22-14636 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA N. OCEAN 707 MANAGER LLC,              Case No. 22-14638 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA NE 7TH MANAGER LLC,                    Case No. 22-14640 (JKS)

                    Debtor.




8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 43 of 49



In re:                                      Chapter 11

NRIA NEWARK STREET CAPITAL 511              Case No. 22-14642 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA NEWARK STREET CAPITAL 511-             Case No. 22-14644 (JKS)
521 MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA NJ MANAGER 511 LLC,                    Case No. 22-14647 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA NJ MANAGER 8709 LLC,                   Case No. 22-14649 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA NJ MANAGER 931 LLC,                    Case No. 22-14652 (JKS)

                    Debtor.

In re:                                      Chapter 11

NRIA NORTH BERGEN 8709 MEMBER               Case No. 22-14654 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA OLD RIVER RD CAPITAL 460-510           Case No. 22-14656 (JKS)
MANAGER LLC,

                    Debtor.



8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 44 of 49



In re:                                      Chapter 11

NRIA OLD RIVER RD CAPITAL 460-510           Case No. 22-14657 (JKS)
MEMBER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA OLD WOODS ROAD MANAGER                 Case No. 22-14658 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA PARTNERS PORTFOLIO FUND I,             Case No. 22-14540 (JKS)
LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA SOUTH CHRISTOPHER COLUMBUS Case No. 22-14659 (JKS)
1499 MANAGER LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA STRUCTURED CREDIT                      Case No. 22-14660 (JKS)
STRATEGIES LLC,

                    Debtor.

In re:                                      Chapter 11

NRIA WRIGHT BY THE SEA 1901                 Case No. 22-14661 (JKS)
MEMBER LLC,

                    Debtor.




8828036
Case 22-14539-JKS    Doc 4     Filed 06/08/22 Entered 06/08/22 12:33:34   Desc Main
                              Document      Page 45 of 49



In re:                                      Chapter 11

OLD RIVER ROAD CAPITAL 460-510 LLC, Case No. 22-14662 (JKS)

                    Debtor.

In re:                                      Chapter 11

OLD WOODS ROAD CAPITAL 36 LLC,              Case No. 22-14663 (JKS)

                    Debtor.

In re:                                      Chapter 11

SACKETT STREET CAPITAL 279 LLC,             Case No. 22-14664 (JKS)

                    Debtor.

In re:                                      Chapter 11

SEVENTH STREET CAPITAL 494 LLC,             Case No. 22-14665 (JKS)

                    Debtor.

In re:                                      Chapter 11

SOUTH CHRISTOPHER COLUMBUS                  Case No. 22-14667 (JKS)
CAPITAL 1499 LLC,

                    Debtor.

In re:                                      Chapter 11

SUMMIT STREET CAPITAL 143 LLC,              Case No. 22-14668 (JKS)

                    Debtor.

In re:                                      Chapter 11

THIRD STREET CAPITAL 423 LLC,               Case No. 22-14669 (JKS)

                    Debtor.




8828036
Case 22-14539-JKS          Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34           Desc Main
                                   Document      Page 46 of 49



In re:                                              Chapter 11

UNION STREET CAPITAL 434 LLC,                       Case No. 22-14670 (JKS)

                         Debtor.

In re:                                              Chapter 11

WEB MARKETING ASSOCIATES LLC,                       Case No. 22-14671 (JKS)

                         Debtor.

In re:                                              Chapter 11

WRIGHT BY THE SEA 1901, LLC                         Case No. 22-14672 (JKS)

                         Debtor.

          ORDER (A) DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES
                      AND (B) GRANTING RELATED RELIEF

          The relief set forth on the following pages, numbered two (2) through and including four

(4), is hereby ORDERED.




8828036
Case 22-14539-JKS           Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34             Desc Main
                                    Document      Page 47 of 49
Page:            2
Debtor:          National Realty Investment Advisors, LLC, et al.
Case No.:        22-14539 (JKS)
Caption:         Order (A) Directing Joint Administration of Chapter 11 Cases and (B) Granting
                 Related Relief


          Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in

possession (the “Debtors”) for entry of an order (this “Order”) (a) directing the joint

administration of the Debtors’ chapter 11 cases for procedural purposes only, and (b) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and

this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United States

District Court for the District of New Jersey, entered on July 23, 1984, as amended on September

18, 2012 (Simandle, C.J.); and this Court having the power to enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on

the Motion were appropriate under the circumstances and no other notice need be provided; and

this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and at the Hearing establish

just cause for the relief granted herein; and upon all of the proceedings had before this Court; and

after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED

THAT:

          1.     The Motion is GRANTED as set forth in this order.

          2.     The above-captioned Chapter 11 Cases are consolidated for procedural purposes

only and shall be jointly administered under Case No. 22-14539 (JKS).




1
          Capitalized terms not otherwise defined shall have the meanings ascribed to such terms in the
Motion.


8828036
Case 22-14539-JKS            Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34            Desc Main
                                     Document      Page 48 of 49
Page:              3
Debtor:            National Realty Investment Advisors, LLC, et al.
Case No.:          22-14539 (JKS)
Caption:           Order (A) Directing Joint Administration of Chapter 11 Cases and (B) Granting
                   Related Relief


           3.      The Clerk of the Court shall maintain one file and one docket for these jointly

administered cases, which file and docket shall be the file and docket for National Realty

Investment Advisors, LLC, Case No. 22-14539.

           4.      The caption of the jointly administered cases shall read as follows:

                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


          In re:                                              Chapter 11

          NATIONAL REALTY INVESTMENT                          Case No. 22-14539 (JKS)
          ADVISORS, LLC, et al.1
                                                              (Jointly Administered)
                                 Debtors.


      1
         A complete list of the Debtors in these chapter 11 cases may be obtained on the
      website     of     the     Debtors’     claims     and     noticing    agent    at
      https://omniagentsolutions.com/NRIA. The location of the Debtors’ service address
      is: 1 Harmon Plaza, Floor 9, Secaucus, New Jersey 07094.

           5.      All pleadings and other papers filed in the jointly administered Chapter 11 Cases

shall bear the foregoing consolidated caption.
           6.      The foregoing consolidated caption satisfies the requirements of section 342(c)(1)

of the Bankruptcy Code and Bankruptcy Rules 1005 and 2002(n).

           7.      A docket entry shall be entered in each of the above-captioned Chapter 11 Cases

substantially as follows:

                   An order has been entered in this case consolidating this case with
                   the case of National Realty Investment Advisors, LLC (Case No.
                   22-14539 (JKS)) for procedural purposes only and providing for its
                   joint administration in accordance with the terms thereof. The
                   docket in Case No. 22-14539 (JKS) should be consulted for all
                   matters affecting this case.



8828036
Case 22-14539-JKS           Doc 4    Filed 06/08/22 Entered 06/08/22 12:33:34             Desc Main
                                    Document      Page 49 of 49
Page:            4
Debtor:          National Realty Investment Advisors, LLC, et al.
Case No.:        22-14539 (JKS)
Caption:         Order (A) Directing Joint Administration of Chapter 11 Cases and (B) Granting
                 Related Relief


           8.    Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of the Debtors or the Debtors’

estates.

           9.    The Debtors are authorized to utilize a combined service list for the Debtors’

jointly-administered cases and may send combined notices to creditors of the Debtors and other

parties in interest where appropriate.

           10.   The Debtors and the Clerk of the Court are authorized to take all actions

necessary to effectuate the relief granted in this Order in accordance with the Motion.

           11.   Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

9014 or otherwise, this Order shall be immediately effective and enforceable upon its entry.

           12.   The Debtors are authorized to file a single consolidated list of the 30 largest

creditors in each of the Chapter 11 Cases.

           13.   The requirements set forth in D.N.J. LBR 9013-1(a)(3) that any motion be

accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

or otherwise waived.

           14.   Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rules and the Local Rules are

satisfied by such notice.

           15.   The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




8828036
